         Case 2:21-cr-20006-JAR Document 1 Filed 04/07/21 Page 1 of 4




                  UNITED STATES DISTRICT COURT
                                 District of Kansas
                                 (Kansas City Docket)


UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                   CASE NO.       21-20006-JAR/TJJ

ABRAHAM PINEDA-RODRIGUEZ,

                           Defendant.




                                 INDICTMENT

      THE GRAND JURY CHARGES:

                                        COUNT 1

                                   ILLEGAL REENRY
                                    [8 U.S.C. § 1326(a)]

      On or about May 18, 2018, in the District of Kansas, the defendant,

                        ABRAHAM PINEDA-RODRIGUEZ,

an alien to the United States of America, was found within the United States after having

been previously deported and removed from the United States on or about December 9,

2016, without having obtained the express consent of the Attorney General or the



                                            1
         Case 2:21-cr-20006-JAR Document 1 Filed 04/07/21 Page 2 of 4




Secretary of Homeland Security to reapply for admission to the United States.

      In violation of Title 8, United States Code, Section 1326(a).

                                       COUNT 2

                                   ILLEGAL REENRY
                                    [8 U.S.C. § 1326(a)]

      On or about October 11, 2018, in the District of Kansas, the defendant,

                        ABRAHAM PINEDA-RODRIGUEZ,

an alien to the United States of America, was found within the United States after having

been previously deported and removed from the United States on or about December 9,

2016, without having obtained the express consent of the Attorney General or the

Secretary of Homeland Security to reapply for admission to the United States.

      In violation of Title 8, United States Code, Section 1326(a).




                                         A TRUE BILL.


April 7, 2021                            s/Foreperson                x
DATE                                     FOREPERSON OF THE GRAND JURY


DUSTON J. SLINKARD
ACTING UNITED STATES ATTORNEY

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                                            2
         Case 2:21-cr-20006-JAR Document 1 Filed 04/07/21 Page 3 of 4




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    IT IS REQUESTED THAT THE TRIAL BE HELD IN KANSAS CITY, KANSAS




                                      3
        Case 2:21-cr-20006-JAR Document 1 Filed 04/07/21 Page 4 of 4




                                   PENALTIES


Counts 1-2

   • Punishable by a term of imprisonment of not more than two (2) years. 8 U.S.C. §
     1326(a).

   • A term of supervised release of not more than one (1) year. 18 U.S.C. §
     3583(b)(3).

   • A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).




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